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PATRICIA S. DODSZUWEIT         UNITED STATES COURT OF APPEALS                 TELEPHONE
                                        FOR THE THIRD CIRCUIT                215-597-2995
        CLERK                     21400 UNITED STATES COURTHOUSE
                                         601 MARKET STREET
                                     PHILADELPHIA, PA 19106-1790
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                                        March 13, 2023



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RE: Consumer Financial Protection Bureau v. National Collegiate Master Student Loan
Trust, et al
Case Number: 22-1864
District Court Case Number: 1-17-cv-01323


Dear Counsel:

The above-entitled case has been removed from the Court’s calendar for Wednesday,
March 22, 2023, and will be rescheduled at the convenience to the Court.
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Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By:



Tricia Harris
Calendar Clerk
267-299-4905
